825 F.2d 409Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James E. WILLIAMS, Plaintiff-Appellant,v.Officer DOW, of the Raleigh Police Department; D. C.Campbell, of the Raleigh Police Department; Frederick K.Heinman, Chief of Police, Raleigh Police Department; City ofRaleigh, Defendants-Appellees.
    No. 87-7045
    United States Court of Appeals, Fourth Circuit.
    Submitted May 28, 1987.Decided July 27, 1987.
    
      James E. Williams, appellant pro se.
      William Alfred Blancato, Womble, Carlyle, Sandridge &amp; Rice, for appellees.
      Before PHILLIPS, MURNAGHAN and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal from its order refusing relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Williams v. Dow, C/A No. 86-668-CRT (E.D.N.C., Jan. 28, 1987).
    
    
      2
      AFFIRMED.
    
    